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7 UNITED STATES DISTRICT COURT
8 CENTRAL DISTRICT OF CALIFORNIA
9 | Brian Whitaker, Case No. 2:19-cv-07371-RGK-JEM
- Plaintiff, @ROSED{ JUDGMENT
RANTING DEFENDANT
Wy, STARBUCKS CORPORATION
D/B/A STARBUCKS COFFEE
12 COMPANY’S MOTION FOR

Starbucks Corporation, a Washington .
13 || Corporation; and Does 1-10, = SUMMARY JUDGMENT

Date: 09/21/2020

 

 

 

14 Defendants. ne: 0-00 wai.
Place: SF bal Federal Building and
15 . Courthouse
563 East Temple Street
16 Los Angeles, CA, 90012
Courtroom 850, 8th Floor
17 JUDGE: R. Gary Klausner
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CITILER: MENDELSON. P.C. Ml

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1 The Motion for Summary Judgment (“Motion”) of Defendant Starbucks
2 || Corporation d/b/a Starbucks Coffee Company (“Defendant”) came on regularly for
3 | hearing on September 21, 2020 before the Honorable R. Gary Klausner, judge

4 || presiding.

5 The Court, having considered the evidence proffered in support of and in
6 || opposition to Defendant’s Motion, having read and considered the supporting,

7 || opposition and reply points and authorities, and having heard and considered the

8 || arguments of counsel, and good cause appearing therefore,

9 IT IS HEREBY ORDERED, ADJUDGED AND DECREED that Defendant’s

10 | Motion for Summary Judgment is GRANTED.

11 IT IS FURTHER ORDERED that Plaintiffs claim for violation of Title III of

12 | the Americans with Disabilities Act of 1990 as to dining tables is moot, and therefore

13 || this Court does not have subject matter jurisdiction over this claim as a matter of law.

14 ACCORDINGLY, Plaintiff's entire complaint is dismissed with prejudice, and
15 || judgment is entered in favor of Defendant.

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"7 IT IS SO ORDERED.

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10 Dated: September 25 2020 Joy Kha
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